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Fill in this information to identify your case:


Debtor 1 Richard J. Miner
                    First Name                 Middle Name              Last Name




Debtor 2
                                                                                                                                       Check if this is an amended
(Spouse, if filing) First Name                 Middle Name              Last Name                                                      plan, and list below the
                                                                                                                                       sections of the plan that have
                                                                                                                                       been changed.
United States Bankruptcy Court for the: Northern                   District Of: Illinois
                                                                               (State)

Case number: 19-05293
(If known)




 Official Form 113
 Chapter 13 Plan                                                                                                                                           12/17

   Part 1:         Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                        have an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                        includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                        be ineffective if set out later in the plan.


    1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                      Included       ✔ Not included
              payment or no payment at all to the secured creditor

    1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                       Included      ✔ Not included
              Section 3.4

    1.3       Nonstandard provisions, set out in Part 8                                                                            Included      ✔ Not included



   Part 2:            Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee as follows:

          $ 1570.00                per month        for 60      months

             [and $                per month        for         months
          If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
          payments to creditors specified in this plan.
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2.2 Regular payments to the trustee will be made from future income in the following manner:
    Check all that apply.
        Debtor(s) will make payments pursuant to a payroll deduction order.
     ✔ Debtor(s) will make payments directly to the trustee.

        Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
     ✔ Debtor(s) will retain any income tax refunds received during the plan term.

        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
        turn over to the trustee all income tax refunds received during the plan term.
        Debtor(s) will treat income tax refunds as follows:


2.4 Additional payments.

    Check one.
     ✔ None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

        Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
        and date of each anticipated payment.
    [enter source]                                                                         $ 0.00                      [anticipated dt]

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ $94,200.00


 Part 3::     Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any.

    Check one.
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
      ✔ The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
         the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
         directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
         trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
         filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
         arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
         is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
         paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
         column includes only payments disbursed by the trustee rather than by the debtor(s).

                                                                                Current       Amount of       Interest rate    Monthly plan    Estimated total
              Name of creditor                      Collateral               installment     arrearage (If   on arrearage      payment on       payments by
                                                                               payment           any)        (If applicable)    arrearage          trustee
                                                                              (including
     Specialized Loan Servicign          1949 Holbrook Lane              $ 836.00          $ 23,542.00              0.00 % $ 393.00           $ 1,228.00
                                         Hoffman Estates, IL 60169
                                                                         Distributed by:
                                                                         ✔    Trustee
                                                                              Debtor(s)


     Barrington Square Improvements      1949 Holbrook Lane              $ 198.00          $ 12,000.00              0.00 % $ 200.00           $ 200.00
                                         Hoffman Estates, IL 60169
                                                                         Distributed by:
                                                                              Trustee
                                                                         ✔    Debtor(s)
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                                                                                     Current         Amount of        Interest rate      Monthly plan      Estimated total
               Name of creditor                        Collateral                 installment       arrearage (If    on arrearage        payment on         payments by
                                                                                    payment             any)         (If applicable)      arrearage            trustee
                                                                                   (including
     Citizens Financial                      2010 Mitsubishi Outlander        $ 314.00            $ 0.00                    0.00 % $ 0.00                 $ 0.00
                                                                              Distributed by:
                                                                                      Trustee
                                                                              ✔       Debtor(s)



     Insert additional claims as needed.


3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

     ✔ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

      The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

        The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
        listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
        claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
        claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
        the secured claim will be paid in full with interest at the rate stated below.
        The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
        plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
        as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the
        proof of claim controls over any contrary amounts listed in this paragraph.
        The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
        of the debtor(s) or the estate(s) until the earlier of:
        (a) payment of the underlying debt determined under nonbankruptcy law, or
        (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

                            Estimated
                                                                                           Amount of                                          Monthly     Estimated total
                            amount of                                    Value of                          Amount of
    Name of Creditor                               Collateral                           claims senior to                 Interest rate       payment to     of monthly
                          creditor's total                               Collateral                      secured claim
                                                                                        creditor's claim                                      creditor      payments
                              claim

                          $                                         $                   $              $                               % $                $

     Insert additional claims as needed.

3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one.

     ✔ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

        The claims listed below were either:
    (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
         personal use of the debtor(s), or
    (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
    These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
    directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
    filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
    claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
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                                                                                                                                                                     Estimated total
                                                                                                                   Amount of                         Monthly plan
                    Name of Creditor                                             Collateral                                       Interest rate                       payments by
                                                                                                                     claim                            payment
                                                                                                                                                                         trustee
                                                                                                               $                               % $                   $

                                                                                                                                                   Distributed by:

                                                                                                                                                   ✔ Trustee

                                                                                                                                                        Debtor(s)

3.4 Lien avoidance.

    Check one.

     ✔ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

        The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
        debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
        securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
        amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
        amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
        § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.


                      Information regarding judicial                                                                        Treatment of remaining secured
                                                                          Calculation of lien avoidance
                          lien or security interest                                                                                      claim

                    Name of creditor                   a. Amount of Lien                                                Amount of secured claim after
                                                                                                      $                 avoidance (line a minus line f)
                                                       b. Amount of all other liens
                                                                                                      $                 $
                                                       c. Value of claimed exemptions
                                                                                                      +$                Interest rate (if applicable)
                    Collateral
                                                       d. Total of adding lines a, b, and c                                                %
                                                                                                      $ 0.00

                                                       e. Value of debtor(s)' interest in property                      Monthly payment on secured claim
                                                                                                      -$
                    Lien identification (such as                                                                        $
                    judgment date, date of lien        f. Subtract line e from line d.
                    recording, book and page                                                          $ 0.00
                    number)                                                                                             Estimated total payments on secured
                                                                                                                        claim
                                                       Extent of exemption impairment
                                                       (Check applicable box):                                          $
                                                       ✔ Line f is equal to or greater than line a
                                                       The entire lien is avoided. (Do not complete
                                                       the next column.)

                                                           Line f is less than line a.
                                                       A portion of the lien is avoided. (Complete
                                                       the next column.)



                    Insert additional claims as needed.



3.5 Surrender of collateral.

Check one.

     ✔ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
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           The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that
        upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
        be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

        Name of Creditor                                                            Collateral




        Insert additional claims as needed.


 Part 4:       Treatment of Fees and Priority Claims


4.1 General

    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
    postpetition interest.


4.2 Trustee’s fees

    Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 4.800 % of plan payments; and
    during the plan term, they are estimated to total $ 4,521.60      .

4.3 Attorney’s fees

    The balance of the fees owed to the attorney for the debtor(s) is estimated to be $ 3,500.00             .

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

    Check one.

     ✔ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

        The debtor(s) estimate the total amount of other priority claims to be $                     .

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

    Check one.

     ✔ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

        The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
        governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
        requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

        Name of Creditor                                                                      Amount of claim to be paid

                                                                                              $

       Insert additional claims as needed.
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 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
    providing the largest payment will be effective. Check all that apply.

       ✔    The sum of $ 773.00               .
       ✔    100.000% of the total amount of these claims, an estimated payment of $ 773.00                       .
            The funds remaining after disbursements have been made to all other creditors provided for in this plan.
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $                                       .
           Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.


5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

       ✔ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


           The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
           on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
           debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
           The final column includes only payments disbursed by the trustee rather than by the debtor(s).

              Name of creditor                                                 Current            Amount of              Estimated total
                                                                               installment        arrearage to be        payments by
                                                                               payment            paid                   trustee
                                                                           $                  $                      $

                                                                           Distributed by:

                                                                            ✔ Trustee

                                                                                 Debtor(s)

       Insert additional claims as needed.

  5.3 Other separately classified nonpriority unsecured claims. Check one.

       ✔ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

           The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows


                                                                                                                                                          Estimated total
                                                                                                                 Amount to be          Interest rate
                           Name of creditor                Basis for separate classification and treatment                                                  amount of
                                                                                                                 paid on claim        (if applicable)
                                                                                                                                                            payments

                                                                                                             $                                      % $

       Insert additional claims as needed.
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 Part 6:       Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
    and unexpired leases are rejected. Check one.

     ✔ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

         Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
         to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
         by the trustee rather than by the debtor(s).
                                                                                  Current              Amount of                                                        Estimated total
                                        Description of leased property or                                                       Treatment of arrearage
           Name of creditor                                                     installment         arrearage to be                                                      payments by
                                               executory contract                                                     (refer to other plan section if applicable)
                                                                                 payment                 paid                                                               trustee
                                                                            $                   $                                                                   $

                                                                            Disbursed by:

                                                                            ✔ Trustee

                                                                                    Debtor(s)

         Insert additional contracts or leases as needed




 Part 7:       Vesting of Property of the Estate


 7.1 Property of the estate will vest in the debtor(s) upon
      Check the applicable box:

      ✔     plan confirmation.
            entry of discharge.
            other:                                                              .


 Part 8:       Nonstandard Plan Provisions


 8.1 Check “None” or List Nonstandard Plan Provisions
     ✔     None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
 Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

 The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
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 Part 9:      Signature(s):


 9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.


      /s/ Richard J. Miner
       Signature of Debtor 1                                            Signature of Debtor 2

       Executed on 02/04/2019                                           Executed on
                    MM / DD / YYYY                                                    MM / DD / YYYY




     /s/ Rusty Payton                                          Date    02/04/2019
       Signature of Attorney for Debtor(s)                               MM / DD / YYYY



 By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
 also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
 those contained in Official Form 113, other than any nonstandard provisions included in Part 8.
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Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
     out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                          $ 1,428.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                  $


c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                             $


d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                   $


e.   Fees and priority claims (Part 4 total)                                                              $ 8,021.60


f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                            $ 773.00

                                                                                                          $
g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                   $


i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)             $


j.   Nonstandard payments (Part 8, total)                                                           +     $


     Total of lines a through j                                                                           $ 10,222.60
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS

In RE:                                       Case No. 19-05293

Richard J. Miner                             Chapter 13

         Debtor.                             Hon.


                        CERTIFICATE OF SERVICE FOR INITIAL PLAN

The undersigned certifies that February 28, 2019, a copy of the foregoing ​Initial Plan was filed
electronically with the Clerk of the Court. Notice of this filing will be sent to all parties by
operation of the Court’s electronic filing system (“ECF”). Parties may access this filing through
the Court’s system.

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

Patrick S. Layng, Office of the US Trustee, Region 11, at ​USTPRegion11.ES.ECF@usdoj.gov

Tom Vaughn, Chapter 13 Trustee, at ​ecf@tvch13.net

And by certified US mail, return receipt requested, on:

         Barrington Square Improvements
         c/o Registered Agent
         John H. Bickley                            American Credit Acceptance
         175 N. Archer                              c/o Registered Agent
         Mundelein, IL 60060                        CT Corporation System
                                                    208 So. LaSalle St. Ste. 814
         Specialized Loan Servicing                 Chicago, IL 60604
         ℅ Registered Agent
         United Agent Group, Inc.
         350 S. Northwest Hwy
         Park Ridge, IL 60068


And by regular US mail on Debtor and all creditors on the attached matrix.
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                                          Respectfully Submitted,

Date: February 28, 2019                   /s/ Rusty A. Payton
                                          Rusty A. Payton
                                          DannLaw
                                          20 North Clark St. Ste. 3300
                                          Chicago, IL 60602
                                          (312) 702-1000 (phone and fax)
                                          payton@dannlaw.com
                                          notices@dannlaw.com
                                          Attorney for Debtor
                   Case
Label Matrix for local     19-05293
                       noticing            Doc 6 U.S.
                                                   Filed  02/28/19
                                                      Bankruptcy  Court Entered 02/28/19 15:01:43     DescAcceptance
                                                                                            American Credit   Main
0752-1                                               Document
                                                 Eastern Division      Page 12 of 13        Attn: Bankruptcy Dept.
Case 19-05293                                        219 S Dearborn                                       961 E. Main Street
Northern District of Illinois                        7th Floor                                            Spartanburg, SC 29302-2185
Eastern Division                                     Chicago, IL 60604-1702
Thu Feb 28 14:56:28 CST 2019
Ann Miner                                            Barrington Square Improvements                       (p)CHOICE RECOVERY INC
1949 Holbrook Lane                                   1800 Williamsburg Drive                              1550 OLD HENDERSON ROAD
Hoffman Estates, IL 60169-2419                       Hoffman Estates, IL 60169-2557                       STE 100
                                                                                                          COLUMBUS OH 43220-3662


Citizenfin                                           Condor Captl                                         Keynote Consulting
2200 John F Kennedy Rd, Suite 104                    165 Oser Av Pob 18027                                220 W Campus Dr Ste 102
Dubuque, IA 52002-2840                               Hauppauge, NY 11788-8827                             Arlington Heights, IL 60004-1498



Kovitz Shifrin Nesbit                                Manley Deas Kochalski LLC                            Spec Loan Sv
55 West Monroe , Suite 2445                          1 E. Wacker #1250                                    8742 Lucent Blvd #300
Chicago, IL 60603-5111                               Chicago, IL 60601-1980                               Highlands Ranc, CO 80129-2386



Trident Asset Manageme                               Wells Fargo Home Mortgage                            Wfhm
10375 Old Alabama Rd Ste                             PO Box 10335                                         Po Box 10335
Alpharetta, GA 30022                                 Des Moines, IA 50306-0335                            Des Moines, IA 50306-0335



Patrick S Layng                                      Richard J. Miner                                     Rusty Payton
Office of the U.S. Trustee, Region 11                1949 Holbrook Lane                                   PaytonDann
219 S Dearborn St                                    Hoffman Estates, IL 60169-2419                       20 North Clark St.
Room 873                                                                                                  Suite 3300
Chicago, IL 60604-2027                                                                                    Chicago, IL 60602-5089

Tom Vaughn
55 E. Monroe Street, Suite 3850
Chicago, IL 60603-5764




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Choice Recovery
1550 Old Henderson Rd St
Columbus, OH 43220




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
(u)19-05293   Case 19-05293   Doc 6 EndFiled  02/28/19
                                         of Label Matrix  Entered 02/28/19 15:01:43   Desc Main
                                        Document         Page
                                    Mailable recipients 18    13 of 13
                                     Bypassed recipients    1
                                     Total                 19
